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                          UNITED STATES DISTRICT COURT
                               DISTRICT OF MAINE


 UNITED STATES OF AMERICA                   )
                                            )
       v.                                   )   1:12-cr-00160-JAW
                                            )
 MALCOLM A. FRENCH, et al.                  )


      ORDER ON DEFENDANT MALCOLM A. FRENCH’S MOTION FOR
                 DISCOVERY OF BRADY MATERIAL

       The Court dismisses without prejudice Defendant’s motion for discovery of

 Brady1 material. The Government has represented that it has turned over to Mr.

 French all the written reports responsive to his requests for information. To the

 extent the law might require the Government to disclose exculpatory or impeaching

 evidence material to sentencing that has not been reduced to writing, the Court

 concludes that Mr. French has failed to demonstrate that the additional information,

 if it exists, would be material to any sentencing issue.

 I.    BACKGROUND

       On September 14, 2012, a federal grand jury indicted Malcolm A. French and

 others for a series of federal crimes relating to their alleged involvement with a

 marijuana growing operation in Maine. Indictment (ECF No. 2). On November 13,

 2013, a grand jury issued a superseding indictment. Superseding Indictment (ECF

 No. 187). On January 24, 2014, at the close of a jury trial that lasted from January

 8, 2014 through January 24, 2014, the jury returned verdicts finding Mr. French



 1     Brady v. Maryland, 373 U.S. 83 (1963).
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 guilty of engaging in a conspiracy to manufacture marijuana, of manufacturing

 marijuana, of managing or controlling a drug-involved premises, of harboring illegal

 aliens, and of engaging in a conspiracy to distribute marijuana. Jury Verdict Form

 (ECF No. 311).

       After delay caused primarily by the Defendants’ post-trial motions, the Court

 has scheduled a sentencing hearing for September 30, 2015 for all Defendants. Notice

 of Hr’g (ECF No. 538). On June 5, 2015, Malcolm French filed a motion for discovery

 of so-called Brady material. Def.’s Mot. for Disc. of Brady Material (ECF No. 521)

 (Def.’s Mot.). On June 8, 2015, the Government responded in opposition to Mr.

 French’s motion. Gov’t’s Objection to Def.’s Mot. for Disc. of Brady Material (ECF No.

 526) (Gov’t’s Opp’n).    On June 12, 2015, Mr. French filed a supplemental

 memorandum in support of his motion for the discovery of Brady material, narrowing

 his request. Def. Malcolm French’s Suppl. Mem. in Supp. of Def.’s Mot. for Disc. of

 Brady Material (ECF No. 529) (Def.’s Suppl. Mem.).          On June 22, 2015, the

 Government filed a supplemental response in opposition to Mr. French’s

 supplemental memorandum. Gov’t’s Resp. to Def.’s Suppl. Mem. in Supp. of Mot. for

 Disc. of Brady Material (ECF No. 534) (Gov’t’s Suppl. Opp’n).

 II.   THE PARTIES’ POSITIONS

       A.     Defendant’s Request

       In his initial motion, Mr. French wrote that after new counsel entered his

 appearance, it “became apparent upon discussion with the defendant that there

 might be exculpatory evidence relevant to sentencing issues within the possession of



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 the government which has possibly not yet been provided.” Def.’s Mot. at 1. In his

 supplemental memorandum, Mr. French limited the material he is seeking to:

       1) A report by a Warden who examined Mr. French’s boots on September 22,

            2009 while he was detained by the side of the road;

       2) A report of statements made by Warden Ron Dunham to Garry Higgins

            regarding whether Mr. French stated to Warden Dunham that Mr. French

            told him that he was threatened in connection with pot-growing before

            2009; and

       3) A report about the marijuana grown in LaGrange.

 Def.’s Suppl. Mem. at 1-4. Mr. French says that a report on his boots would show two

 sets of foot tracks at the side of the road were not his, that the statements Mr. French

 made to Warden Dunham relate to the leadership enhancement under the Sentencing

 Guidelines, that Mike Smith’s threat would be exculpatory, and that the LaGrange

 marijuana grow is relevant to drug quantity. Id.

       B.      The Government’s Response

       In its response, referring to two letters requesting discovery that defense

 counsel sent the Government, the Government argues that Mr. French “offers no non-

 speculative explanation as to how the items listed in the two letters would be material

 to any sentencing issues” and it contends that he “offers no legal authority upon which

 the Court could endorse the fishing expedition that he proposes to go on.” Gov’t’s

 Opp’n at 1.    The Government quoted the First Circuit case of United States v.

 DeCologero, 530 F.3d 36, 64-65 (1st Cir. 2008) as confirming that Brady did not create



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 “a general constitutional right to discovery in a criminal case.” Id. at 2 (quoting

 DeCologero, 530 F.3d at 64) (quoting Weatherford v. Bursey, 429 U.S. 545, 559 (1977)).

 Instead, in order to establish a violation of Brady, “a defendant must provide the

 court with some indication that the materials to which he or she needs access contain

 material and potentially exculpatory evidence.” Id. (quoting DeCologero, 530 F.3d at

 64-65). Moreover, the Government observes that its obligations under Brady only

 extend “to information in its possession, custody, or control. . . . While a prosecutor

 must disclose information maintained by government agents even if the prosecutor

 herself does not possess the information, this duty does not extend to information

 possessed by government agents not working with the prosecution.” Id. (quoting

 United States v. Hall, 434 F.3d 42, 55 (1st Cir. 2006) (citations omitted)).

       Once Mr. French narrowed his discovery requests in his supplemental filing,

 the Government responded specifically to his three points. Regarding the boot report,

 the Government says it “does not know whether or not the boot exam occurred” and,

 regardless, it “provided the defendant pre-trial with reports from both law

 enforcement witnesses [Mr. French] claims were present for the alleged

 examination.” Gov’t’s Suppl. Opp’n at 2. Regarding the Warden Dunham report, the

 Government says it learned about the conversation between Warden Dunham and

 Mr. French during the latter’s testimony at trial. Id. at 4. As such, the Government

 contends the information was unknown to the Government before trial, yet known to

 the Defendant at that time, and so it cannot constitute Brady material. Id. Finally,

 regarding the LaGrange search, the Government says it “provided the information



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 that [it] had regarding” the search, and points out that agents who did not write

 reports “were at least identified in the reports that were written as being present.”

 Id. at 6. Moreover, the Government asserts it “cannot be faulted for failing to turn

 over a document that was not prepared or failing to turn over a non-existent report .

 . . .” Id. (citing United States v. Alverio-Meléndez, 640 F3d. 412, 424 (1st Cir. 2011)).

 III.   DISCUSSION

        A.    Legal Standards

        To establish a Brady violation, “a defendant must make three showings. The

 evidence at issue (whether exculpatory or impeaching) must be favorable to the

 accused; that evidence must have been either willfully or inadvertently suppressed

 by the government; and prejudice must have ensued.” United States v. Alverio-

 Meléndez, 640 F.3d at 424 (internal punctuation and citation omitted).              The

 Government’s disclosure obligations under Brady extend beyond trial to a sentencing

 hearing. Brady v. Maryland, 373 U.S. 83, 87-88 (1963) (“A prosecution that withholds

 evidence on demand of an accused which, if made available, would tend to exculpate

 him or reduce the penalty helps shape a trial that bears heavily on the defendant”)

 (emphasis supplied). Finally, “evidence is not suppressed if the defendant either

 knew, or should have known of the essential facts permitting him to take advantage

 of any exculpatory evidence.” Ellsworth v. Warden, 333 F.3d 1, 6 (1st Cir. 2003)

 (quoting United States v. LeRoy, 687 F.2d 610, 618 (2d Cir. 1982)).

        B.    The Requested Discovery

              1.     The September 22, 2009 Boot Examination



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                    a.      Further Background

       Turning to Mr. French’s first request, in his May 21, 2015 letter to the

 Government, Mr. French’s counsel noted:

       R_00698 – Two footwear cases were collected by Jeffry Ingemi and then
       given to David Simmons, DS-2 and DS-3. There were no further reports
       of those casts, or comparison testing with respect to Malcolm French or
       any other alleged co-conspirators. There is also a report missing
       regarding Mr. French’s footwear being checked by a Warden during Mr.
       French’s initial stop in the T-37 investigation.

 Def.’s Mot. Attach. 1 Letter from Atty. Thomas F. Hallett to AUSA Joel B. Casey, at 2

 (Hallett May 21, 2015 Letter). In his initial response of May 22, 2015, AUSA Casey

 stated that “there was no expert analysis conducted concerning footwear or heavy

 equipment track comparison, thus there is no report to provide to you.” Id. Attach. 2

 Letter from AUSA Joel B. Casey to Atty. Thomas F. Hallett, at 1 (Casey May 22, 2015

 Resp.). In his response, Attorney Hallett clarified that he was not just seeking any

 expert analysis. Id. Attach. 3 Letter from Atty. Thomas F. Hallett to AUSA Joel B.

 Casey, at 1 (Hallett June 1, 2015 Letter). Attorney Hallett asserted that game warden

 examined Mr. French’s boots on September 22, 2009, when Mr. French was detained

 at the side of the road. Id. Attorney Hallett wrote that “I am looking for a report on

 that activity, and if there is no such report, please have one generated by the

 appropriate Warden.” Id.

       By letter dated June 3, 2015, AUSA Casey responded: “The only report that

 the Government has in its possession, custody or control concerning Mr. French’s

 detention on the side of the road on September 22, 2009 was provided in discovery.

 (R_00235). There is no mention of a Game Warden being present.” Def.’s Suppl.

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 Mem. Attach. 1 Letter from AUSA Joel B. Casey to Atty. Thomas F. Hallett, at 2 (Casey

 June 3, 2015 Resp.). In his supplemental response, Mr. French noted:

       Despite the government’s position that no warden was present at the
       time of Mr. French’s detention on September 23, 2009 at the side of the
       road, the report of Warden Brad Richard, R-06742-44 states that
       Warden Richard was at the side of the road and spoke to MDEA Agent
       Rolfe who was detaining Mr. French. Warden Richard’s report mentions
       “two sets of foot tracks in the road,” but has no mention of checking
       defendant’s boots. Footwear casts were made of footprints at the
       Township 37 (“T-37”) marijuana grow. Warden Richard looked at
       defendant’s boot tread, said something to Agent Rolfe and then drove off
       on his four-wheeler.

 Def.’s Suppl. Mem. at 2. Mr. French explained that he is requesting “an Order that

 the exculpatory information be provided regarding Warden Richard’s examination of

 defendant’s boots and any conclusion that defendant’s boots did not match foot tracks,

 and the nature of the foot tracks seen, as well as a comparison to any casts.” Id. at 2.

       On June 22, 2015, the Government filed a supplemental response and stated

 that the first the Government had heard that Maine Game Warden Brad Richard

 examined Mr. French’s boots on September 22, 2009 “was in the defendant’s recent

 discovery letters.” Gov’t’s Suppl. Opp’n at 1. The Government represented that it

 had “produced in discovery the report of S/A Rolfe, as well as the report of Warden

 Brad Richard” and the neither “contains any reference to an examination of the

 defendant’s boots.” Id. Instead, the Government points out that it is “the defendant

 who claims to have known about this alleged examination” and despite the fact Mr.

 French knew about this information and the fact Special Agent Rolfe testified at trial,

 Mr. French asked no questions at trial concerning the boot examination. Id. at 1-2

 (emphasis in original).

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                     b.     Discussion

       Assuming that Mr. Ford is correct that on September 22, 2015, while speaking

 with MDEA Special Agent Richard Rolfe, Maine Game Warden Brad Richard

 approached Mr. French, examined his boots, commented to Special Agent Rolfe, and

 drove off, this incident is not mentioned in either Special Agent Rolfe’s or Warden

 Richard’s reports, both of which the Government supplied to Mr. French. In Attorney

 Hallett’s June 1, 2015 letter and his supplemental memorandum, he requests that

 the Government generate a report if none exists. Hallett June 1, 2015 Letter at 1;

 Def.’s Suppl. Mem. at 2.

       As the First Circuit has noted, “an implicit prerequisite of any Brady violation

 is that favorable, material evidence actually exists.” Alverio-Meléndez, 640 F.3d at

 424 (quoting United States v. Garvin, 270 F. App’x 141, 144 (3d Cir. 2008)). In the

 context of a fingerprint report, the First Circuit observed that “because no fingerprint

 analysis report existed, the government did not commit a Brady violation in failing

 to turn over such a report.” Id. In short, “[t]he failure to create exculpatory evidence

 does not constitute a Brady violation.” Id.; see United States v. Werth, 493 F. App’x

 361, 366 (4th Cir. 2012) (“While the government is obligated to disclose favorable

 evidence in its possession, it is not required to create evidence that might be helpful

 to the defense.”) (citations omitted).

       In his supplemental memorandum, Mr. French cites United States v.

 Rodriguez for the proposition that, even if the Government does not possess a report,

 it is obligated to disclose exculpatory and impeaching information. Def.’s Suppl.



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 Mem. at 2 (quoting Rodriguez, 496 F.3d 221, 226 (2d Cir. 2007)). In Rodriguez, when

 one of the government’s critical witnesses testified, she admitted she had lied “about

 everything” in her initial meetings with the government, but she said that she was

 now telling the truth. Rodriguez, 496 F.3d at 223. The Government failed to reveal

 the substance of the witness’s lies on the ground that there were no notes of the

 interviews. Id. The Second Circuit wrote that “[f]rom the fact that the Government

 is not required to make notes of a witness’s statements, it does not follow that the

 Government has no obligation to inform the accused of information that materially

 impeaches its witness.” Id. at 225.

       Although authoritative in the Second Circuit, Rodriguez does not extend to the

 First Circuit and no other circuit has cited it with approval. To the extent that

 Rodriguez holds that the Government must disclose information even though it is not

 in a tangible form, this holding runs counter to the First Circuit’s guidance that the

 Government is not required to generate a report where none exists.

       At the same time, assuming that the First Circuit would be uneasy about the

 Government refusing to disclose a critical witness’s prior lies, even under Rodriguez

 the standard for disclosure remains materiality. In Rodriguez, the Second Circuit

 noted that “[t]he disclosure obligations of Brady and Giglio apply only to impeaching

 or exculpatory information that is of sufficient importance to be deemed ‘material.’”

 Id. at 223. The Rodriguez Court remanded the case to the trial court for a materiality

 finding. Id.




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       Here, the Court remains unclear why Mr. French’s boots would be material to

 his sentence. Mr. French reiterates in his filings that the Warden’s examination of

 his boots on September 22, 2009 is exculpatory, but nowhere does he explain why he

 believes the Warden’s boot examination would be relevant to his sentence. According

 to Mr. French’s own testimony, he was stopped by Special Agent Rolfe and questioned

 about the fire at Township 37. Partial Tr. of Proceedings 70:17-72:23, 86:18-87:23,

 145:13-25 (ECF No. 362) (May 23, 2014) (Malcolm French Test. I); Partial Tr. of

 Proceedings 20:24-21:9; 43:21-44:2; 62:3-63:6 (ECF No. 363) (May 23, 2014) (Malcolm

 French Test. II). Mr. French admitted his presence in Township 37 and testified

 about the content of his conversation with Special Agent Rolfe. How the fact, if it is

 true, that Mr. French’s boots did or did not match nearby boot tracks is simply a

 mystery. The Court concludes that Mr. French has not sustained his burden of

 proving that the Warden’s boot examination is at all relevant to the calculation of his

 guideline sentence range or any of the 18 U.S.C. § 3553(a) factors.

       Moreover, to the extent that Mr. French’s argument is based on a contention

 that he was unaware of the boot examination, this argument must fail. If Warden

 Richards and Special Agent Rolfe examined Mr. French’s boots on September 22,

 2009, Mr. French must have known that they did so, and Brady does not apply to

 information known to the defense. United States v. Bender, 304 F.3d 161, 164 (1st

 Cir. 2002) (“Brady applies to material that was known to the prosecution but

 unknown to the defense.”) (citation omitted). Indeed, Special Agent Rolfe testified at

 trial, and although other defendants cross-examined him, Mr. French elected not to



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 ask Special Agent Rolfe any questions. Partial Tr. of Proceedings 14:4-5 (ECF No.

 418) (Sept. 5, 2014) (Special Agent Rolfe Test.).      Moreover, Mr. French himself

 testified at trial and discussed his encounter with Special Agent Rolfe but never

 mentioned either the Warden or the boot examination. Malcolm French Test. I 70:17-

 72:23, 86:18-87:23, 145:13-25; Malcolm French Test. II 20:24-21:9, 43:21-44:2, 62:3-

 63:6.

         Based on the information in this record, the Court easily concludes that Mr.

 French is not entitled to the discovery he seeks about the Warden’s or the Special

 Agent’s impressions of his footwear on September 22, 2009 because such a report does

 not exist and because the Government need not generate one in order to comply with

 Brady. To be sure, if Mr. French believes that the issue is important, he is free to call

 Warden Richards or Special Agent Rolfe at the sentencing hearing now scheduled for

 September 30, 2015 and question them about this issue. He is not entitled, however,

 to force the Government to create a report that does not exist, particularly when he

 had actual knowledge of the event about which he seeks now to obtain information.

               2.    Warden Ron Dunham Report of Conversation with Garry
                     Higgins

                     a.     Further Background

         Attorney Hallett’s May 21, 2015 letter to AUSA Casey does not mention his

 request for a report of an interview between Warden Ron Dunham and Garry

 Higgins. Hallett May 21, 2015 Letter at 1-4. He did request a report of a conversation

 between John Richards and Warden Dunham. Id. at 3. On June 1, 2015, Attorney

 Hallett noted:

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       Request #13, report of statement by Warden Ron Du[n]ham to Gar[r]y
       Higgins is made because it may reflect on any leadership/organizer role
       at sentencing. It is believed that Warden Du[n]ham reported that
       defendant had stated he was threatened in connection with pot growing
       prior to 2009. Please have a report generated if there is none.

 Hallett June 1, 2015 Letter at 2. On June 3, 2015, AUSA Casey responded as follows:

       On June 2, 2015, S/A Richards called Warden Dunham who confirmed
       that he had a conversation with Malcolm French several years ago about
       Michael Smith growing marijuana on his property. Warden Dunham
       recalled that he passed this information on to former MDEA SS/A Garry
       Higgins or former MDEA S/A James Carr. The Government has no
       reports in its possession, custody or control concerning Warden Dunham
       . . . having a conversation with Garry Higgins or James Carr.

 Casey June 3, 2015 Resp. at 3 (footnotes omitted). In Mr. French’s supplemental

 memorandum, he asks the Government to generate a report “if there is none.” Def.’s

 Suppl. Mem. at 2. Mr. French goes on to state that “[t]he requested information

 involves a report of Malcolm French being threatened by Mike Smith concerning a

 marijuana grow.” Id. at 3.

                    b.    Discussion

       Mr. French’s request for a non-existent report does not state a Brady violation

 because the Government is not required to generate a report in order to comply with

 Brady. Also, Mr. French was obviously aware of the conversation with Warden

 Dunham because he was the person who spoke with Warden Dunham. Furthermore,

 although Mr. French describes the information as “exculpatory,” it is again unclear

 why. During his trial testimony, Mr. French extensively described his dealings with

 Mike Smith and his conversations with Warden Dunham. Malcolm French Test. I

 18:13-40:23. In addition, the Government called Garry Higgins, an investigator for



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 the Penobscot County Sheriff’s Office, as a witness at trial to testify about an earlier

 investigation he had made of a marijuana grow operation that Kendall Chase had

 been involved in. Partial Tr. of Proceedings (ECF No. 449) (Oct. 15, 2015) (Garry

 Higgins Test.). Mr. French elected not to ask any questions at trial of Mr. Higgins.

 Id. 12:15-16.

       If he elects to do so, Mr. French is free to testify at his sentencing hearing about

 Mike Smith’s threat or to refer the Court to his trial testimony on the same subject.

 Mr. French is free to call Warden Dunham as a witness at the sentencing hearing, if

 he believes that Warden Dunham’s recollection of this conversation will assist Mr.

 French’s sentencing arguments. Mr. French may also call Mr. Higgins as a witness

 at the sentencing hearing, if he believes that it is important to confirm what Warden

 Dunham told Mr. Higgins. But Mr. French has not explained why a contemporaneous

 confirmation that Mike Smith threatened him concerning a marijuana grow should

 lead this Court to impose a more lenient sentence on Mr. French, and in any event,

 he is not entitled to require the Government to generate a report on a conversation

 to which he was a party on an issue whose materiality for sentencing purposes he has

 not established.

                 3.   Information Regarding the Marijuana Grow in LaGrange

                      a.    Further Background

       Mr. French did not request information about the marijuana grow in LaGrange

 in his initial letter of May 21, 2015. Hallett May 21, 2015 Letter at 1-4. Attorney

 Hallett’s June 1, 2015 letter contains the following demand: “Request #14 seeks



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 information regarding the marijuana grown in LaGrange. It is relevant to the total

 amount of marijuana calculations.”        Hallett June 1, 2015 Letter at 2.         The

 Government’s June 3, 3015 response stated:

       The Government has previously provided the only materials it has
       regarding the law enforcement activity at Mr. French’s property in
       Lagrange. See R_02160, R_02212, R_06263. S/A Rolfe’s report
       (R_06263) references attached notes and photographs. The photographs
       were attached, but according to our records, the notes were not. I am
       supplying agent Rolfe’s notes with this letter.

 Casey June 3, 2015 Letter at 4, notes at 6-16.

       In his supplemental response, Mr. French acknowledged that “several reports

 were submitted referencing September 27, 30, and October 21, 2009 searches of the

 Lagrange property.” Def.’s Suppl. Mem. at 3. However, he states that “[o]ther than

 S/A Rolfe’s report of the old grow 300 yards from the cabin, none of the reports contain

 any description of the areas searched, how the search was conducted, reference the

 information provided which triggered the search, or any locations identified as

 specific grows.” Id. He says that it is “[o]f note, there are only two reports regarding

 the September 27 and 30 searches despite thirteen officers present on those two

 dates.” Id. He also notes:

       Agent Burke’s report, R_00937, mentions that the search was for an
       active grow on the Malcolm French Lagrange land. To the extent that
       the entire area was searched, and no grow located that evidence is
       exculpatory and relevant to the government calculations of marijuana
       quantity for Mr. French’s sentencing.      It also reflects on any
       leader/organizer sentencing issues.

 Id. at 4. Mr. French observes that the October 16, 2009 affidavit of Allen A. Weaver

 stated that “law enforcement was provided with directions to the Lagrange marijuana



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 grow.” Id. Finally, Mr. French requests that the Government “provide information

 on what information the search was based, how the search was conducted, maps or

 other search devices used, the geographical area covered by the search, and which

 law enforcement officers searched in what geographical area.” Id.

       On June 22, 2015, the Government responded by noting that it “provided all

 information it had in its possession, custody or control concerning the search of the

 defendant’s camp in Lagrange.”      Gov’t’s Suppl. Resp. at 4.      The Government

 represented that it had provided the reports of MDEA Special Agents Jon Richards,

 Richard Rolfe, Ralph Pineo, JD Burke, and DEA Special Agent Steve Sicard. Id. at

 5. The Government said that it provided photographs of the search and the affidavit

 of Special Agent Allen Weaver in support of the search warrant. Id.

                    b.     Discussion

       The Court addresses the three searches in 2009 of Mr. French’s LaGrange

 property: September 27, September 30, and October 21.               According to the

 Government, Special Agent Rolfe wrote a report about the searches on September 27

 and 30 and the report revealed the location of the search (over a mile past a gate to

 Mr. French’s property and about 300 yards from the French camp near a bog), the

 results of the search (evidence of an old marijuana grow with about twelve plants

 with the wire still intact), and the fact that “[n]othing was seized on either walk

 through the woods.” Gov’t’s Suppl. Resp. at 5. As for the October 21, 2009 search,

 the Government says that on October 1, 2009, Winston McTague gave additional




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 information about the location of the LaGrange grow,2 but that the agents did not

 find a large active grow in LaGrange. Id. at 6.

        Again, the Court is unclear how whatever the agents found (or more precisely

 did not find) in LaGrange during any of the searches in September and October 2009

 would have a significant bearing on Mr. French’s sentencing.                   The Presentence

 Investigation Report does not use any marijuana seized from LaGrange to fix the

 drug quantity. Presentence Report ¶¶ 26-28. Instead, the Probation Office used the

 amount of marijuana actually discovered in Township 37 and estimated the other

 drug quantity by using the amount of Pro Mix, which was used to fertilize the

 marijuana, to project how much marijuana was being fertilized and thus produced.3

 Id.

        Furthermore, even though a number of the law enforcement officers who

 performed the LaGrange searches testified at trial, Mr. French did not ask them to

 “provide information on what information the search was based, how the search was

 conducted, maps or other search devices used, the geographical area covered by the




 2      Trial Exhibit 152 is an email from Winston McTague dated October 1, 2009; it states in part:

         they have another field in lagrange . . . located at the vey (sic) lower right back part of
         the land if your standing ain (sic) front of the door of the camp put your hand at three
         oclock and its that way, and if ya (sic) jump in your truck go to the first t and take a
         right go to the next t take a right and go till the road comes to were (sic) it looks not
         used or all grass and look left and were (sic) you can see or wetre (sic) the last point
         wich (sic) you see the road go walk to there and stop and look to left will be a little hill
         that is an old skiddar (sic) road and walk to the bottom of the hill and then go to ! the
         left and keep following the way the water is flowing till you get to a swamp and you
         will see pot plats (sic) every 15 to 16 feet . . .
 3       The Court notes the discussion of the LaGrange grow site in this order does not address the
 issues raised in Defendant’s pending motion for new trial. Def.’s Third Mot. for New Trial Pursuant
 to Fed. R. Crim. P. 33 (ECF No. 554).

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 search, and which law enforcement officers searched in what geographical area.”4

 Def.’s Suppl. Mem. at 4. Special Agent Rolfe, who participated in the LaGrange

 search, testified at trial to the October 21, 2009 search of the LaGrange property and

 the location of the old marijuana grow. Special Agent Rolfe Test. 12:18-13-24. Mr.

 French decided not to ask any questions of Special Agent Rolfe. Id. 14:4-5. Special

 Agent Jonathan Richards, who participated in the LaGrange search, testified at trial

 on January 10 and 13, 2014. Partial Tr. of Proceedings (ECF No. 428) (Richards Test.

 I); Partial Tr. of Proceedings (ECF No. 432) (Richards Test. II).                         On direct

 examination, Special Agent Richards was questioned about the October 21, 2009

 search of the LaGrange property. Richards Test. I 76:6-87:12, 91:15-16. Mr. French’s

 counsel briefly questioned Special Agent Richards about his search of the LaGrange

 property on October 21, 2009. Richards Test. II 81:10-82:1. One other defense lawyer

 questioned him about the LaGrange search. Id. 83:2-6. A third law enforcement

 officer, Steve Sicard, who also participated in the LaGrange search, testified at trial.

 Partial Tr. of Proceedings (ECF No. 542) (July 27, 2015) (Sicard Test.). Special Agent

 Sicard was questioned about the September 24, 2009 search of Mr. French’s residence

 in West Enfield; Mr. French’s counsel questioned him but asked no questions about

 the October 21, 2009 search in LaGrange. Id. 4:17-17:24, 23:11-25:16.

        Mr. French also testified at the trial. He explained that he had encountered a

 marijuana grow operation on his land in LaGrange in 2003 and had told law


 4       The Court understands a trial is different from a sentencing and defense counsel may have
 wished for strategic reasons to avoid these questions at trial. Nevertheless, if in fact the Defendants
 thought that they had not been provided proper discovery from the Government, they could have raised
 that issue but did not.

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 enforcement about it. Malcolm French I 17:8-18. He said that in 2005, he found

 another marijuana grow operation near his camp in LaGrange, which had been

 destroyed by a man named Steve Benson, who was clearing land for Mr. French. Id.

 100:8-11. This occasioned a visit from a man named Mike Smith, who demanded

 $35,000 from Mr. French for missing marijuana on behalf of a gang called the Red

 Patch gang. Id. 18:13-34:8, 102:7-17. According to Mr. French, Mr. Smith demanded

 the $35,000 “reparations” in the form of Pro Mix. Id. 31:3-32:12.

       Then in 2007, Mike Smith returned and demanded more money, this time

 $16,000, on behalf of the same group that had earlier blackmailed him. Id. 36:14-

 37:3. Again, the payment, Mr. French said, was in Pro Mix. Id. 34:9-38:11.

       Mr. French also admitted that he had a ten-year marijuana habit and had

 supported the habit by stealing marijuana that he found on his land, and that he

 knew that the so-called Red Patch gang had been growing marijuana on his property

 in LaGrange. Malcolm French II 5:18-22, 62:8-15. Based on Mr. French’s trial

 testimony, he knew there was marijuana growing on his land in LaGrange; he

 testified, however, it was not his marijuana.

       In light of his testimony, the Court is confused about why Mr. French believes

 that the additional information that he has requested from the Government about

 the LaGrange searches is material to any sentencing issues. Again, the Probation

 Office has not used the actual marijuana in LaGrange to calculate drug quantity; it

 has used the quantity of Pro Mix that he or his companies purchased to estimate the

 quantity of drugs for which he is being held responsible. Looking at the evidence in



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 the light most favorable to the verdict, the jury was not required to accept Mr.

 French’s testimony about the Red Patch gang and Pro Mix reparations and the

 Probation Office was justified in using Pro Mix quantities to estimate marijuana

 quantities, since there appears to be a direct correlation. In addition, the Court is

 entirely   unclear   how   this   information   would      have   any   impact   on   his

 leadership/organizer role, since there was a great deal of trial evidence that Mr.

 French was the head of the entire marijuana grow operation. Again, if Mr. French

 wishes to call any of the law enforcement officers who performed the LaGrange

 searches at his sentencing hearing, he is free to do so.

 IV.   CONCLUSION

       The Court DISMISSES without prejudice Defendant’s Motion for Disclosure of

 Brady Material (ECF No. 521).        The Court has dismissed the motion without

 prejudice to allow Mr. French, if he chooses to do so, to better explain why the sought-

 for information is material to his upcoming sentencing.

       SO ORDERED.



                                         /s/ John A. Woodcock, Jr.
                                         JOHN A. WOODCOCK, JR.
                                         UNITED STATES DISTRICT JUDGE

 Dated this 1st day of September, 2015




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